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                  EXHIBIT 1




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                                                             Exhibit 1 - 001
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                                                             Exhibit 1 - 002
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                                                             Exhibit 1 - 003
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                                                             Exhibit 1 - 004
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                                                             Exhibit 1 - 005
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                                                             Exhibit 1 - 006
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                                                             Exhibit 1 - 007
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                                                             Exhibit 1 - 008
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                                                              Exhibit 1 - 009
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                                                              Exhibit 1 - 010
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                   EXHIBIT 2




                   EXHIBIT 2
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                                                        Electronically Filed
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                                                        Steven D. Grierson
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                                                                 Exhibit 2 - 001


                        Case Number: C-19-337828-1
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                                                              Exhibit 2 - 002
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                   EXHIBIT 3




                   EXHIBIT 3
                     Case 2:20-cv-01861-GMN-BNW Document 52 Filed 05/05/21 Page 16 of 16
 Search By Offender ID                                               NOTICE:
 Offender ID: 1216001                                                 The information provided here represents raw data. As such, the Nevada
 -or-                                                                 Department of Corrections makes no warranty or guarantee that the data is error
 Search By Demographics                                               free. The information should not be used as an official record by any law
                                                                      enforcement agency or any other entity.
 First Name:                               Wildcard %
                                                                      Any questions regarding an inmate, please call Family Services at (775) 887-3367.
 Last Name:                                Wildcard %
                                                                      Victims looking for inmate information please contact Victim Services at (775) 887-
                                                                      3393. Any questions regarding the web portal for law enforcement access to inmate
                                                                      information should be referred to PIO Scott Kelley. email: sckelley@doc.nv.gov or
            Submit                                                    (775) 887-3309

                                                                     Currently the following web browsers are supported for the Inmate Search: Internet
                                                                     Explorer 11, Chrome, Firefox and Opera. If you are unable to view inmate photos,
                                                                     please use a supported browser.

                                                                      Download Offender Data
                                                                      Demographic, Alias, Booking, Parole, Release

Up to date as of 2021-05-03

                                                                  Identification and Demographics

               Offender                                                                                                                Custody                  Prior
 Name                        Gender     Ethnic    Age   Height   Weight    Build    Complexion      Hair    Eyes     Institution                  Aliases
               ID                                                                                                                      Level                    Felonies
 JONATHON      1216001       Male       BLACK     34    6'0"     200lb              DARK            BLACK   BROWN    CASA GRANDE       TRUSTEE    JONATHON      YES
 ANTHONY                                                                                                             TRANSITIONAL                 JACKSON,
 JACKSON                                                                                                             HOUSING                      JJ

                                                                          Booking Information

                                                                                                                                                                Sent.
 Offense       Offense                Sent.                                        Sent.    Sent.                          Sent.                        Sent.
                                                 Sent. Min       Sent. Max                            Sent. County                   Sent. Type                 Start
 Code          Description            Status                                       PED      MPR                            PEXD                         RRD
                                                                                                                                                                Date
 2137          DUI CAUSING            Active     0 yr. 36        0 yr. 120         2021-    2023-     CLARK COUNTY         2023-     DETERMINATE                2018-
               DEATH OR SBH                      mo. 0 days      mo. 0 days        12-05    01-19     COURTHOUSE           06-25                                12-06

     Inmate Photo                              Parole Hearing Details Unavailable




                                                                                                                                             Exhibit 3 - 001
